Case: 1:15-cv-01366-CAB Doc #: 45 Filed: 12/08/15 1 of 1. PageID #: 1277




                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION



 SPECIFIX FASTENERS PTY. LTD                  )          CASE NO.1:15CV1366
 ET AL.,                                      )
                                              )
                       Plaintiff,             )      JUDGE CHRISTOPHER A. BOYKO
                                              )
                Vs.                           )
                                              )
 ALL FASTENERS USA LLC, ET AL.,               )      ORDER
                                              )
                       Defendant.             )

 CHRISTOPHER A. BOYKO, J:

        In light of the chasm between the parties’ respective settlement positions, the Court’s

 Settlement Conference set for December 9, 2015, at 2:00 p.m. will proceed with the parties

 and their principals alone in the Court’s jury room. The Court will not intervene unless and

 until substantial progress toward settlement is made.

        IT IS SO ORDERED.


                                      s/ Christopher A. Boyko
                                      CHRISTOPHER A. BOYKO
                                      United States District Judge
 Dated: December 8, 2015
